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12. Address for Payments and Notices:

LANDLORD TENANT

Payment Address:

DISCOVERY BUSINESS CENTER LLC PRIME CONSULTING LLC

P.O. Box #846547 15261 Laguna Canyon Road, Suite 200
Los Angeles, CA 90084-6547 Irina, CA 92818

Notice Address:

The irvine Company LLC

550 Newport Center Drive

Newport Beach, CA 92680

Attn: Senior Vice President, Property Operations
irvine Office Properties

LIST OF LEASE EXHIBITS (All exhibits, riders and addenda attached to this Lease are hereby
incorporated Into and made a part of this Lease):

Exhibit A Desciption of Premises
Exhibit 8 Operating Expenses
Exhibit C Utilities and Services
Exhibit 0 Tenant’s insurance
Exhibit E Rules and Regulations
Exhibit F Parking

Exhibit G Additional Provisions
Exhibit G-1 Existing Furniture
Exhibit H Landlord's Disclosures
Exhibit X Work Letter

Exhibit ¥ Project Description

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ARTICLE 2, PREMISES

2.4. LEASED PREMISES. Landlord leases to Tenant and Tenant leases from Landiord
Premises shown in Exhibit A (the “Premises’), containing approximately the floor area set forth in Item
of the Basic Lease Provisions (the "Floor Area”) The Premises are located in the buliding identified
Item 2 of the Basic Lease Provisions (the “Bullding”), which Is « portion of the project described in tem
(the "Project’). Landlord and Tenant stiputate and agree that the Floor Area of Premises set forth
item 8 of the Basic Lease Provisions is correct.

22, ACCEPTANCE OF PREMISES. Tenant acknowledges that neither Landiord nor any
representative of Landlord has made any representation or warranty with respect to the Premises, the
Bulliding or the Project or the suitability or fitness of ether for any purpose, except as set forth in this
Lease. Tenant acknowledges that the flooring materials which may be Installed within portions of the
Premises located on the ground floor of the Building may be limited by the moisture content of the

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shall be limited to any items required to be accomplished by Landlord under the Work Letter (if any)
attached as Exhibit X, and shall be delivered to Landlord within 30 days after the Commencement Date
(as defined herein). If there is no Work Letter, or If no items are tequired of Landlord under the Work
Latter, by taking possession of the Premises Tenant accepts the improvements In their existing condition,
and waives any right or claim against Landlord arising out of the condition of the Pramises. Nothing
contained in this Section 2.2 shall affect the commencement of the Term or the obligation of Tenant to
pay rent. Landlord shall diligently complete al! punch list tems of which it ls notified as provided above.

2.3. GOOD WORKING ORDER WARRANTY. Landlord warrants to Tenant that the fire sprinkler
system, lighting, heating, ventilation and ak conditioning systems and electrical systems serving the
Premises shall be in good operating condition as of the day the Premises are delivered to Tenant.

ARTICLE 3. TERM

3.1. GENERAL. The term of this Lease (“Term”) shall be for the period shown in Item & of the
Basic Lease Provisions. The Term shall commence (‘Commencement Date”) on October 15, 2018.
Promptly following request by Landlord, the parties shall memorialize on a form provided by Landlord (the
"Commencement Memorandum’) the actual Commencement Date and the expiration date (“Expiration
Date") of this Lease; should Tenant fall to execute and return the Commencement Mamorendum to
Landlord within § business days (or provide specific written objections thereto within that period), then
Landlord's determination of the Commencement and Expiration Dates as set forth in the Commencement
Memorandum shall be conctusive.

3.2. DELAY IN POSSESSION. If Landiord, for any reason whatsoever, cannot deliver
of the Premises to Tenant on or before the Estimated Commencement Date set forth in item 4 of the
Basic Lease Provisions, this Lease shall not be vold or voldabie nor shai Landlord be liable to Tenant for
any resulting loss or damage. However, Tenant shall not be {lable for any rent until the Commencement
Date occurs as provided In Section 3.1 above

ARTICLE 4, RENT AND OPERATING EXPENSES

4.1. BASIC RENT. From and after the Commencement Date, Tenant shall pay to.Landlord without
deducilon or offset, except a8 provided In this Lease, a Basic Rent for the Premises in the total amount
shown (Including subsequent adjustments, if any) in Item 6 of the Basic Lease Provisions (the “Basic
Rent’). If the Commencement Date is other than the first day of a calendar month, any rental adjustment
shown In Item 6 shall be deemed to occur on the first day of the next calendar month following the
specified monthly anniversary of the Commencement Date. The Basic Rent shall be due and payable in
advance commencing on the Commencement Date and continuing thereafter on the first day of each
successive calendar month of the Term, as prorated for any partial month. No demand, notice or invoice
shall be required, An Installment In the amount of 1 full month's Basic Rent, at the initial rate specified in
Item 6 of the Basic Lease Provisions, and 1 month's estimated Tenant's Share of Operating Expenses
shall be delivered to Landlord concurrently with Tenant's execution of this Lease and shall be applied
against the Basic Rent firet due hereunder; the next installment of Basic Rent shail be due on the first day
of the second calendar month of the Term, which installment shall, if applicable, be appropriately prorated
to reflect the amount prepaid for that calendar month. °°

4.2. OPERATING EXPENSES. Tenant shall pay Tenant's Share of Operating Expenses in
accordance with Exhibit B of this Lease.

4.3. SECURITY DEPOSIT. Concurrently with Tenant's delivery of this Lease, Tenant shall deposit
with Landlord the sum, if any, stated In Item & of the Basic Lease Provisions (the “Security Deposit’), to
be held by Landlord as security for the full and faithful performance of Tenant's obligations under this
Lease, to pay any rental sums, including without limitation such additional rent as may be owing under
any provision hereof, and to maintain the Premises as required by Sections 7.1 and 15.2 or any other
provision of this Lease. Upon any breach of the foregoing obligations by Tenant, Landiord may apply of
or part of the Security Deposit as full or partial compensation. If any portion of the Security Deposit is so
applied, Tenant shall within 5 business days after written demand by Landlord deposit cash or check with

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Landlord in an amount sufficiant to restore the Security Deposit to Its original amount. Landiord shall not
be required to keep the Security Deposit separate from its genera! funds, and Tenant shall not be entitled.
to interest on the Security Deposit. in no event may Tenant utilize all or any portion of the Secu
Deposit as a payment toward any rental sum due under this Lease. Any unapplied balance of the
Security Deposit shall be returned to Tenant or, at Landlord's option, to the last assignee of Tenant's
interest In this Lease within 30 days following the termination of this Lease and Tenant's vacation of the
Premises. Tenant hereby walves the provisions of Section 1950.7 of the Califomia Civil Code, or any
similar or successor faws now or hereafter in effect, in connection with Landlord's application of the
Security Deposit to prospective rent that would have been payable by Tenant but for the early termination
due to Tenant's Default (as defined herein).

ARTICLE 8. USES

6.1. USE. Tenant shall use the Premises only for the purposes stated in Item 3 of the Basic Lease
Provisions and for no other use whatsoaver. The uses prohibited under this Lease shall include, without
limitation, use of the Premises or a portion thereof for (I) offices of any agency or bureau of the United
States or any state or political subdivision thereof; (il) officas or agencies of any foreign governmental or
political subdivision thereof; or (ill) schools, temporary employment agencies or other training facilities
which are not ancillary to corporate, executive or professional office use. Tenant shall not do or permit
anything to be done In or about the Premises which will in any way interfere with the rights or quiet
enjoyment of other occupants of the Building or the Project, or use or allow the Premises to be used for
any untawful purpose, nor shall Tenant permit any nuisance or commit any waste in the Premises or the
Project. Tenant shall not perform any work or conduct any business whatsoever in the Project other than
inside the Premises. Tenant shall comply at its expense with all present and future laws, ordinances and
requirements of all governmental authorities that pertain to Tenant or its use of the Premises, and with all
energy usage reporting requirements of Landlord. Pursuant to California Civil Code § 1938, Landlord
hereby states that the Premises have not undergone Inspection by a Certified Access Specialist
(CASp) (defined in Catifornia Civil Code § 55.52(a)(3)). Pursuant to Section 1938 of the Califomia Civil
Code, Landlord hereby provides the following notification to Tenant: “A Certified Access Specialist
(CASp) can inspect the subject premises and determine whether the subject premises comply with all of
the applicable construction-related accessibility standards under state law. Although state law does not
require a CASp inspection of the subject premises, the commercial property owner or lessor may not
prohibit the lessee or tenant from obtaining a CASp inspection of the subject premises for the occupancy
or potential occupancy of the lessee or tenant, if requested by the lessee or tenant. The parties shall
mutually agree on the arrangements for the time and manner of the CASp inspection, the payment of the
fee for the CASp inspection, and the cost of making any repairs necessary to correct violations of
construction related accessibility standards within the premises.” If Tenant requests to perform a CASp
Inspection of the Premises, Tenant shall, at its cost, retain a CASp approved by Landlord (provided that
Landlord may designate the CASp, at Landlord's option) to perform the inspection of the Premises at a
time agreed upon by the parties. Tenant shall provide Landlord with a copy of any report or certificate
issued by the CASp (the “CASp Report’) and Tenant shail, at its cost, promptly complete any
modifications necessary to correct violations of construction related accessibility standards identified in
the CASp Report, notwithstanding anything to the contrary in this Lease. Tenant agrees to keep the
information in the CASp Report confidential except as necessary for the Tenant to complete such
modifications. During the Term, Landlord shall be responeibie, at fis cost (except to the extent properly
included in Project Costs), for correcting any violations of Title il! of the Americans with Disabilities Act
(“ADA”) in which it is notified by governmental authorities with respect to the Common Areas of the
Building except for any obligations specifically Imposed upon Tenant pursuant to this Lease.
Notwithstanding the foregoing, Landlord shall have the right to contest any alleged violation in good faith,
including, without limitation, the right to apply for and obtain @ waiver or deferment of compliance, the
right to assert any and all defenses allowed by law and the right to appeal any decisions, judgments or
rulings to the fullest extent permitted by law. Landiord, after the exhaustion of any and all rights to appeal
or contest, will make all repairs, additions, alterations or improvements necessary to comply with the
terms of any final order or judgment. Notwithstanding the foregoing, Tenant, not Landlord, shall be
responsible for the correction of any violations that arise out of or in connection with any claims brought
under any provision of the Americans with Disabilities Act other than Title Ill, the specific nature of
Tenant's business in the Premises (other than general office use), the acts or omissions of Tenant, its
agents, employees or contractors, Tenant's arrangement of any furniture, equipment or other property in
the Premises, any repairs, alterations, additions or improvements performed by or on behalf of Tenant
{including the Tenant Improvements) and any design or configuration of the Premises specifically
requested by Tenant after being informed that such design or configuration may not be In strict
compllance with the ADA.

8.2. SIGNS. Except for Landiord’s standard suite signage identifying Tenant's name and/or logo,
and building standard lobby directory signage, which suite entry and lobby directory signage shall be
installed at Landlord's sole cost and expense, Tenant shall have no right to maintain signs in any location
in, on or about the Premises, the Building or the Project and shall not place or erect any signs that are
visible from the exterior of the Bullding. The size, design, graphics, material, style, color and other
physical aspects of any permitted sign shall be subject to Landlord's written determination, as determined
solely by Landlord, prior to Installation, that signage Is in compliance with any covenants, conditions or
restrictions encumbering the Premises and Landiord’s signage program for the Project, as in effect from
time to time and approved by the City in which the Premises are located (“Signage Criteria"). Prior to
placing or erecting any such signs, Tenant shall obtain and deliver to Landiord a copy of any applicable
municipal or other governmental permits and approvals, except to Landlord's standard suite signage.
Tenant shall be responsible for all costs of any permitted sign, including, without imitation, the fabrication,

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installation, maintenance and removal thereof and the cost of any permits therefor, except that Landlord
shall pay for the initial installation costs only of the standard suite signage. If Tenant falls to maintain its
sign In good condition, or If Tenant fails to remove same upon termination of this Lease and repair and
restore any damage caused by the sign or its removal, Landlord may do so at Tenant's expense.
Landiord shall have the right to temporarily remove any signs in connection with any repairs or
maintenance in or upon the Building. The term “sign” as used in this Section shall include all signs,
designs, monuments, displays, advertising materials, logos, banners, projected images, pennants,
decals, pictures. notices, lettering, numerals or graphics.

5.3 HAZARDOUS MATERIALS. Tenant shall not generate, handle, store or dispose of hazardous
or toxic materials (as such materials may be Identified in any federal, state or local law or regulation) in
the Premises or Project without the prior written consent of Landtord; provided that the foregoing shall not
be deemed to proscribe the use by Tenant of customary office supplies in normal quantities so long as
such use comports with all applicable laws. Tenant acknowledges that it has read, understands and, if
applicable, shall comply with the provisions of Exhibit H to this Lease, if that Exhibit is attached. Except
as otherwise disclosed in this Lease, Landiord, to the best of Its knowledge, represents to Tenant that
except for normal janitorial, maintenance and office supplies and except as otherwise disclosed herein,
no hazardous or toxic materials are present in or about the Building. Should any such materials be
discovered and should thelr remediation be legally required, then uniess such materials were introduced
by Tenant, Its agents, employees, subtenants, vendors, licensees, invitees or contractors, Landlord shall
remediate same at its expense and shall hold Tenant harmless from any cost in connection therewith.

ARTICLE 6. LANDLORD SERVICES

6.1, UTILITIES AND SERVICES. Landlord and Tenant shali be responsible to furnish those utitities
and services to the Premises to the extent provided in Exhibit C, subject to the conditions and payment
obligations and standards set forth In this Lease. Landiord shall not be liable for any fallure to furnish any
services or utilities when the failure is the result of any accident or other cause beyond Landlord's
reasonable control, nor shall Landlord be liable for damages resulting from power surges or any
breakdown in telecommunications fecilities or services. Landlord's temporary Inability to furnish any
services or utilities shall not entitle Tenant to any damages, relieve Tenant of the obligation to pay rent or
constitute a constructive or other eviction of Tenant, except that Landiord shall diligently attempt to
restore the service or utility promptly. However, if the Premises, or @ material portion of the Premises, are
made untenantable for a period In excess of 5 consecutive business days as @ resutt of @ service
interruption or repair that is reasonably within the control of Landlord to correct and through no fault of
Tenant and for reasons other than as contemplated in Articie 11, then Tenant, as Ite sole remedy, shali be
entitled to receive an abatement of Rent payable hereunder during the period beginning on the 6th
consacutive business day of the service interruption of repair and ending on the day the service has been
restored, Tenant shall comply with all rules and regulations which Landlord may reasonably establish for
the provision of services and utilities. and shall cooperate with all reasonable conservation practices
established by Landlord. Landlord shail at all reasonable times have free access to all electrical and
mechanical installations of Landlord. *

6.2. OPERATION AND MAINTENANCE OF COMMON AREAS. During the Term, Landiord shall
operate all Common Areas within the Building and the Project in a first-class manner. The term
“Common Areae" shall mean all areas within the Building and other buildings in the Project which are not
held for exclusive use by persons entitied to occupy space, Including without limitaton parking areas and
structures, driveways, sidewalks, landscaped and planted areas, hallways and interior stairwells not
located within the premises of any tenant, common electrical rooms, entrances and lobbies, elevators.
and restrooms not located within the premises of any tenant.

6.3. USE OF COMMON AREAS. The occupancy by Tenant of the Premises shall include the use
of the Commen Areas in common with Landlord and with all others for whose convenience and use the
Common Areas may be provided by Landlord, subject, however, to compliance with Rules and
Regulations described in Article 17 below. Landiord shall at all thnes during the Term have exclusive
contro! of the Common Areas, and may restrain or permit any use or occupancy, except as otherwise
provided in this Lease or in Landiord’s rules and regulations. Tenant shall keep the Common Areas Clear
of any obstruction or unauthorized use related to Tenant's operations. Landlord may temporarily close
any portion of the Common Areas for repairs, remodeling and/or atterations, to prevent a public
dedication or the accrual of prescriptive rights, or for any other reasonable purpose. Landlord's
temporary closure of any portion of the Common Areas for such purposes shall not deprive Tenant of
reasonable access to the Premises.

6.4, CHANGES AND ADDITIONS BY LANDLORD. Landlord reserves the right to make
aherations or additions to the Building or the Project or to the attendant fixtures, equipment and Common
Areas, and such change shall not entitle Tenant to any abatement of rent or other claim against Landlord.
No such change shall deprive Tenant of reasonable access to or use of the Premises.

ARTICLE 7, REPAIRS AND MAINTENANCE
7.4. TENANT'S MAINTENANCE AND REPAIR. Subject to Articles 11 and 12, Tenant at its sole
expense shall make all repairs necessary to keep the Premises and all improvements and fixtures therein
in good condition and repair. Notwithstanding Section 7.2 below, Tenent’s maintenance obligation shall

include without imitation all appliances, interior glass, doors, door closures, hardware, fictures, electrical,
plumbing, fire extinguisher equipment and other equipment installed in the Premises and all Alterations

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constructed by Tenant pursuant to Section 7.3 below, together with any supplemental HVAC equipment
servicing only the Premises. All repairs and other work performed by Tenant or its contractors shail be
subject to the terms of Sections 7.3 and 7.4 below. Altematively. should Landlord or its management
agent agree to make a repair on behalf of Tenant and at Tenant's request, Tenant shall promptly
reimburse Landlord as additional rent for all reasonable costs Incurred (including the standard supervision
fee) upon submission of an Invoice.

7.2. LANDLORD'S MAINTENANCE AND REPAIR. Subject to Articles 11 and 12, Landlord shall
provide service, maintenance and repair with respect to the heating, ventilating and air conditioning
("HVAC") equipment of the Building (exclusive of any supplemental HVAC equipment servicing only the
Premises) and shali maintain in good repair the Common Areas, roof, foundations, footings, the exterior
surfaces of the exterior walls of the Building (including exterior glass), and the structural, electrical,
mechanical and plumbing systems of the Bullding (including elevators, if any, serving the Building).
excapt to the extent provided in Section 7.1 above. Landlord need not make any other improvements or
repairs except as specifically required under this Lease, and nothing contained In this Section 7.2 shall
limit Landlord's right to reimbursement from Tenant for maintenance, repair costs and replacement costs
as provided elsewhere in this Lease. Notwithstanding any provision of the California Civil Code or any
similar or successor laws to the contrary, Tenant understands that It shall not make repairs at Landlord's
expense or by rental offset. Except as provided In Section 11.1 and Article 12 below, there shall be no
abatement of rent and no Iiabitty of Landlord by reason of any injury to or interference with Tenant's
business arising from the making of any repairs, alterations or improvements to sny portion of the
Building, including repairs to the Premises, nor shail any related activity by Landlord constitute an actual
or constructive eviction; provided, however, that In making repairs, alterations or improvements, Landlord
shall interfere as little as reasonably practicable with the conduct of Tenant's business In the Premises.
Tenant hereby waives any and all rights under and benefits of subsection 1 of Section 1932, and
Sections 1941 and 1942 of the California Civil Code, or any similar or successor laws now or hereafter In
effect.

7.8. ALTERATIONS. Except for cosmetic alteration projects that do not excaed $100,000.00
during each calendar year and that satisfy the criteria in the next following sentence (which work shall
require notice to Landiord but not Landiord’s consent), Tenant shall make no alterations, additions,
decorations or improvements (collectively referred to as “Alterations”) to the Premises without the prior
written consent of Landlord. Landlord's consent shall not be unreasonably withheld as long as the
proposed Alterations do not affect the structural, electrical or mechanical components or systems of the
Bullding, are not visible from the exterior of the Premises, do not change the basic floor plan of the
Premises, and utilize only Landlord's building standard materiats (“Standard Improvements"). Landlord
may impose, as a condition to its consent, any requirements that Landiord in its discretion may deem
reasonable or desirable. Wihout limiting the generality of the foregoing, Tenant shell use Landlord's
designated mechanical and electrical contractors for all Alterations work affecting the mechanical or
elecirical systems of the Building. Should Tenant perform any Alterations work that would necessitate
any ancillary Gullding modification or other expenditure by Landlord, then Tenant shall promptly fund the
cost thereof to Landlord. Tenant shall obtain ail required permits for the Alterations and shall perform the
work in compliance with all applicable laws, regulations and ordinances with contractors reasonably
acceptable to Landlord, and except for cosmetic Alterations not requiring a permit, Landiord shall be
entitled to a supervision fee in the amount of 5% of the cost of the Alterations. Any request for Landlord's
consent shall be made in writing and shail contain architectural plans describing the work In detall
reasonably satisfactory to Landlord. Landlord may elect to cause ite architect to review Tenant's
architecturat plans, and the reasonable cost of that review shall be reimbursed by Tenant, Should the
Alterations proposed by Tenant and consented to by Landlord change the floor plan of the Premises, then
Tenant shall, at its expense, furnish Landlord with as-built drawings and CAD disks compatible with
Landlord's systems. Alterations shall be constructed in a good and workmaniike manner using materials
of a quality reasonably approved by Landlord. Uniess Landlord otherwise agrees in writing, ail Alterations
affixed to the Premises, inctuding without limitation all Tenant Improvements constructed pursuant to the
Work Letter (except as otherwise provided in the Work Lettes), but excluding moveable trade fixtures and
furniture, shall become the property of Landlord. Such Alterations shall be surrendered with the Premises
at the end of the Term, except that Landiord may, by notice to Tenant given at the time of Landlord's
approval, require Tenant to remove by the Expiration Data, or sooner termination date of this Lease, all or
any Alterations (including without limitation all telaphone and data cabling) installed either by Tenant or by
Landlord at Tenant's request (collectively, the “Required Removabies"). and to replace any non-
Stendard Improvements with the applicable Standard Improvements. Tenant, at the time it requests
approval for a proposed Alteration, may request in writing that Landlord advise Tenant whether the
Alteration or any portion thereof, is a Required Removable. Within 10 days afier receipt of Tenant's request,
Landlord shall advise Tenant in writing as to which portions of the subject Alterations are Required
Removables. In connection with Its removal of Required Removables, Tenant shail repair any damage to
the Premises arising from that removal and shall restore the affected area to its pre-existing condition,
reasonable wear and tear excepted.

7.4. MECHANIC'S LIENS. Tenant shall keep the Premises free from any liens arising out of any
work performed, materials furnished, or obligations incurred by or for Tenant. Upon request by Landlord,
Tenant shall promptly cause any such lien to be released by posting a bond In accordance with California
Clvil Code Section 8424 or any successor statute. In the event that Tenant shall not, within 15 days
following the Imposition of any lien, cause the lien to be released of record by payment or posting of a
proper bond, Landlord shall have, in addition to all other available remedies, the right to cause the lien to
be released by any means it deems proper, including payment of or defense against the ciaim giving rise
to the lien. All expenses so Incurred by Landlord, Including Landlord's attorneys’ fees, shall be

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reimbursed by Tenant promptly following Landlord's demand, together with interest from the date of
payment by Landlord at the maximum rate permitted by law until paid. Tenant shall give Landlord no less
than 20 days’ prior notice in writing before commencing construction of any kind on the Pramises.

7.8. ENTRY AND INSPECTION. Landlord shall at all reasonable times, upon at least 24 hours
advance, written or verbal notica given by Landlord (except in emergencies, when no notice shall be
required), have the right to enter the Premises to Inspect them, to supply services in accordance with this
Lease, to make repairs and renovations as reasonably deemed necessary by Landlord, and to submit the
Premises to prospective or actual purchasers or encumbrance holders (or, during the final twelve months
of the Term or when an uncured Default exists, to prospective tenarits), all without being deemed to have
caused an eviction of Tenant and without abatement of Rent except es provided elsewhere in this Lease.
If reasonably necessary, Landlord may temporarily ciose ail or @ portion of the Premises to perform
repairs, alterations and additions. Except in emergencies or to provide Buliding services, Landlord shall
provide Tenant with reasonable prior verbal notice of entry and shall use reasonable efforts to minimize
any interference with Tenant's use of the Premises.

ARTICLE 8. SPACE PLANNING AND SUBSTITUTION

Landiord shall have the right, upon providing not fess than 45 days prior written notice, to move
Tenant to other space of comparable size in the Buliding or in the Project or in other space owned by
Landlord or its affiliate(s) within 3 miles of the Buliding. The new space shall be provided with
improvements of comparable quality to those within the Premises. Landlord shall pay the reasonable out-
of-pocket costa to relocate and reconnect Tenant's personal property and equipment within the new
space; provided that Landlord may elect fo cause such work to be done by Its contractors. Landlord shall
also reimburse Tenant for such other reasonable out-of-pocket costs that Tenant may Incur in connection
with the relocation, including without limitation necessary stationery revisions. Within 10 days following
request by Landlord, Tenant shall execute an amendment to this Lease prepared by Landlord to
memorialize the relocation. Should Tenant fall timely to execute and deliver the amendment to Landlord,
or should Tenant thereafter fail to comply with the terms thereof, then Landlord may at its option elect to
terminate this Lease upon not less than 60 days prior written notice to Tenant. Notwithstanding the
foregoing, Landiord hereby agrees that it shal! not exercise its right to relocate Tenant hereunder during
the initial 24 month Lease Term

ARTICLE 9. ASSIGNMENT AND SUBLETTING
9.1, RIGHTS OF PARTIES.

(a) Except as otherwise specifically provided in this Article 9, Tenant may not, either voluntarily
or by operation of law, assign, sublet, encumber, or otherwise transfer all or any part of Tenant's interest
in this Lease, or permit the Premises to be occupled by anyone other than Tenant (each, a “Transfer’),
without Landlord's prior written consent, which consent shall not unreasonably be withheld, conditioned or
delayed in accordance with the provisions of Section 9.1(b). For purposes of this Lease, references to
any subletting, sublease or variation thereof shall be deemed to apply not only to a sublease effected
directly by Tenant, but also to a sub-subletting or an assignment of subtenancy by a subtenant at any
level. Except a8 otherwise specifically provided in this Article 8, no Transfer (whether voluntary,
involuntary or by operation of law) shail be valid or effective without Landiord's prior written consent and,
at Landlord's election, such a Transfer shall constitute a material default of this Lease.

(b) Except as otherwise specifically provided in this Article 9, if Tenant or any subtenant
hereunder desires to transfer an interest in this Lease, Tenant shall firat notify Landiord in writing and
shall request Landlord’s consent thereto. Tenant shall also submit to Landlord in writing: (ij) ihe name
and address of the proposed transferee; (li) the nature of any proposed subtenant's or assignee’s
business to be carried on in the Premises; (ill) the terms and provisions of any proposed sublease or
assignment (including without limitation the rent and other economic provisions, term, improvement
obligations and commencement date); {iv) evidence that the proposed assignee or subtenant will comply
with the requirements of Exhibit D to this Lesee; and (v) any other information requested by Landlord and
reasonably related to the Transfer. Landlord shali not unreasonably withhold Its consent, provided:
(1) the use of the Premises will be consistent with the provisions of this Lease and with Landlord's
commitment to other tenants of the Building and Project; (2) any proposed subtenant or assignee
demonstrates that It is financially responsible by submission to Landlord of all reasonable information as
Landlord may request concerning the proposed subtenant or assignes, including, but not limited to, a
balance sheet of the proposed subtenant or assignee as of a date within 90 days of the request for
Landlord's consent and statements of income or profit and loss of the proposed subtenant or assignee for
the two-year period preceding the request for Landlord's consent; (3) the proposed assignee or subtenant
is neither an existing tenant or occupant of the Bullding or Project nor @ prospective tenant with whom
Landlord or Landiord’s affiliate has been actively negotiating to become a tenant at the Buliding or
Project; and (4) the proposed transferee is not an SDN (as defined below) and will not impose additional
burdens or security risks on Landiord, If Landlord consents to the proposed Transfer, then the Transfer
may be effected within 90 days after the date of the consent upon the terms described in the information
furnished to Landlord; provided that any material change In the terms shall be subject to Landlord's
consent as set forth In this Section 9.1(b). Landlord shall approve or disapprove any requested Transfer
within 30 days following receipt of Tenant's written notice and the Information set forth above. Except in
connection with a Permitted Transfer (as defined below), if Landiord approves the Transfer Tenant shall
pay a transfer fee of $1,000.00 to Landlord concurrently with Tenant's execution of a Transfer consent
prepared by Landlord.

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(c) Notwithstanding the provisions of Subsection (b) above, and except in connection with @
“Permitted Transfer" (as defined below). in lieu of consenting to a proposed assignment or subletting,
Landlord may elect to terminate this Lease In its entirety in the event of an assignment, or terminate this
Lease as to the portion of the Premises proposed to be subleased with a proportionate abatement in the
rent payable under this Lease, such termination to be effective on the date that the proposed sublease or
assignment would have commenced. Landlord may theresfter, at its option, assign or re-let any space so
recaptured to any third party, including without limitation the proposed transferee identified by Tenant.

(d) Should any Transfer occur, Tenant shall, except in connection with a Permitted Transfer,
promptly pay or cause to be paid to Landlord, as additional rent, 50% of any amounts paid by the
assignee or subtenant, however described and whether funded during or after the Lease Term, to the
extent such amounts are In excess of the sum of (i} the scheduled Basic Rent payable by Tenant
hereunder (or, In the event of a subletting of only 9 portion of the Premises, the Basic Rent allocable to
such portion as reasonably determined by Landiord) and (li) the direct out-of-pocket costs, as evidenced
by third party Invoices provided to Landiord, incurred by Tenant to effect the Transfer, which cosis shall
be amortized over the remaining Term of this Lease or, if shorter, over the term of the sublease.

(e) The sale of all or substantially all of the assets of Tenant (other than bulk sales in the
ordinary course of business), the merger or consolidation of Tenant, the sale of Tenant's capital stock, or
any other direct or indirect change of control of Tenant, including, without limitation, change of control of
Tenant's parent company of a merger by Tenant or Its parent company, shall be deemed a Transfer
within the meaning and provisions of this Article. Notwithstanding the foregoing, Tenant may assign this
Lease to a successor to Tenant by merger, consolidation or the purchase of substantially all of Tenant's
assets, or assign this Lease or sublet all or a portion of the Premises to an Affilate (defined below),
without the consent of Landlord but subject to the provisions of Section 9.2, provided that ail of the
following conditions are satisfied (a “Permitted Transfer’): (1) Tenant is not then in Default hereunder;
(ii) Tenant gives Landlord written notice at least 10 business days before such Permitted Transfer; and
(il) the successor entity resulting from any merger or consolidation of Tenant or the sale of all or
substantially all of the assets of Tenant, has a net worth (computed in accordance with generally
accepted accounting principles, except that intangible assets such as goodwill, patents, copyrights, and
ademarks shall be exciuded in the calculation ("Net Worth”)) at the time of the Permitted Transfer that is
at least equal to the Net Worth of Tenant immediately before the Permitted Transfer, Tenant's notice to
Landiord shall include reasonable information and documentation evidencing the Permitted Transfer and
showing that each of the above conditions has been satisfied. if requested by Landlord, Tenant's
successor shall sign and deliver to Landiord a commercially reasonable form of assumption agreement.
“affiliate” shell mean an entity controlled by, controlling or under common control with Tenant.

9.2. EFFECT OF TRANSFER. No subletting or assignment, even with the consent of Landlord,
shall relieve Tenant, or any successor-in-interest to Tenant hereunder, of its obligation to pay rent and to
perform ali its other obligations under this Lease, Each assignee, other than Landiord, shall be deemed
to assume all obligations of Tenant under this Lease and shall be liable jointly and severally with Tenant
for the payment of all rent, and for the due performance of all of Tenant's obligations, under this Lease.
Such joint and several liability shall not be discharged or impaked by any subsequent modification or
extension of this Lease. Consent by Landlord to one or more transfers shal! not operate as a waiver or
estoppel to the future enforcement by Landlord of ils rights under this Lease.

9.3. SUBLEASE REQUIREMENTS. Any sublease, license, concession oF other occupancy
agreement entered into by Tenant shall be subordinate and subject to the provisions of this Lease, and if
this Lease is terminated during the term of any such agreement, Landlord shall have the right to: (i) treat
such agreement as cancelled and repossess the subject space by any lawful means, or (il) require that
such transferee attorn to and recognize Landlord as its landlord (or licensor, as applicable) under such
agreement. Landlord shall not, by reason of such attornment or the collection of sublease rentals, be
deemed liable to the subtenant for the performance of any of Tenant's obligations under the sublease. If
Tenantis in Default (hereinafter defined), Landtord Is irrevocably authorized to direct any transferee under
any such agreement to make all payments under such agreement directly to Landlord (which Landlord
shall apply towards Tenant's obligations under this Lease) untit such Default Is cured. No collection or
acceptance of rent by Landlord from any transferee shall be deemed a waiver of any provision of Articie 9
of this Lease, an approval of any transferee, or a release of Tenant from any obdligation under this Lease,
whenever accruing. In no event shat! Landlord's enforcement of any provision of this Lease against any
transferee be deemed a walver of Landlord's right to enforce any term of this Lease against Tenant or
any other person.

ARTICLE 10. INSURANCE AND INDEMNITY

10.1. TENANT'S INSURANCE. Tenant, atits sole cost and expense, shall provide and maintain in
effect the Insurance described In Exhibit D. Evidence of that Insurance must be delivered to Landlord
prior to the Commencement Date.

40.2. LANDLORD'S INSURANCE. Landlord shall provide the following types of insurance, with or
without deductible and in amounts and coverages as may be determined by Landlord in Its discretion:
property insurance, subject to standard exclusions (such ss, but not limited to, earthquake and flood
exclusions), covering the Bullding or Project. In addition, Landlord may, at its election, obtain insurance

coverages for such other risks as Landlord or its Mortgagees may from time to time deam appropriate,
including earthquake, terrorism and commercial general llabilly coverage. Landlord shall not be required

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to carry insurance of any kind on any tenant Improvements or Alterations in the Premises installed by
Tenant or its contractors or otherwise removable by Tenant (collectively, "Tenant Installations"), or on
any trade fixtures, fumishings, equipment, interior plate glass, signs or items of personal property in the
Premises, and Landlord shall not be obligated to repair or replace any of the foregoing items should
damage occur. All proceeds of Insurance maintained by Landlord upon the Building and Project shall be
the property of Landlord, whether or not landlord 's obligated to or elects to make any repairs.

10.3. INDEMNITY. To the fullest extent permitted by law, but subject to Section 10.5 below,
Tenant shall defend, indemnify and hold harmless Landlord, its agents, tenders, and any and ail affiliates
of Landlord (collectively, “Landlord Parties"), from and against any and all claims, liabilities, costs or
expenses (collectively, “Claims") arising either before or after the Commencement Date from Tenant's
use or occupancy of the Premises, the Bulking or the Common Areas, or from the conduct of its
business, or from any activity, work, or thing done, permitted or suffered by Tenant of its agents,
employees, subtenants, vendors, contractors, invitees or licansees in or about the Premises, the Building
or the Common Areas, or from any Default in the performance of any obligation on Tenant's part to be
performed under this Lease, or from any act or negligence of Tenant or its agents, employees,
subtenants, vendors, contractors, invitees or licensees. Landlord may, at its option, require Tenant to
assume Landiord’s defense In any action covered by this Section through counsel reasonably satisfactory
to Landlord. Notwithstanding the foregoing, if and to the extent it is ultimately determined that the Claim
was caused by the negligence or willful misconduct of any Landiord Party, then Tenant's indemnification
obligation shall not apply and Landiord shell indemnify and hold Tenant harmless from same. The
provisions of this Section 10.3 shall survive the expiration or sooner termination of this Lease with respect
to any Claims or tiability arising In connection with any event occurring prior to such expiration or
termination. .

40.4. LANDLORD'S NONLIABILITY. Untess caused by the negligence or intentional misconduct
of Landiord, its agents, employees or contractors but subject to Section 10.5 below, Landlord shall not be
fable to Tenant, Its employees, agents and invitees, and Tenant hereby weives all claims against
Landiord, its employees and agents for loss of or damage to any property, or any injury to any person,
resulting from any condition including, but not fimited to, acts or omissions (criminal or otherwise) of third
parties and/or other tenants of the Project, or thelr agents, employees or invitees, fire, explosion, falling
plaster, steam, gas, electricity, water or rain which may leak or flow from or into any part of the Premises
or from the breakage, leakage, obstruction or other defects of the pipes, sprinklers, wires, appliances,
plumbing, alr conditioning, electrical works or other flctures in the Bullding, whether the damage or injury
results from conditions arising in the Premises or in other portions of the Building. It is understood that
any such condition may require the temporary evacuation or closure of all or a portion of the Building.
Should Tenant elect to recelve any service from a concessionaire, licensee or third party tenant of
Landlord, Tenant shail not seek recourse against Landlord for any breach or liability of that service
provider, Notwithstanding anything to the contrary contained In this Lease, In no event shall Landlord be
liable for Tenant's loss or interruption of business or income (including without limitation, Tenant's
consequential damages, lost profits or opportunity costs), or for interference with light or other similar
intangible Interests.

10.6. WAIVER OF SUBROGATION. Landlord and Tenant each hereby walves all rights of
recovery against the other on account of loss and damage cecasioned to the property of such waiving _
party to the extent that the waiving party Is entitled to proceeds for such loss and damage under any
property Insurances policies carried or otherwise required to be carried by this Lease; provided however,
that the foregoing waiver shall not apply to the extent of Tenant's obligation to pay deductibles under any
such policies and this Lease. By this waiver if is the intent of the parties that neither Landlord nor Tenant
shall be liable to any insurance company (by way of subrogation or otherwise) insuring the ather party for
any loss or damage insured against under any property insurance policies, even though such loss or
damage might be occasioned by the negligence of such party, its agents, employees. contractors or
invitees. The foregoing waiver by Tenant shail also inure to the benefit of Landiord's management agent
for the Buliding.

ARTICLE 11. DAMAGE OR DESTRUCTION
11.1, RESTORATION.

(a) ‘If the Building of which the Premises are a part is damaged as the result of an event of
casualty, then subject to the provisions below, Landlord shall repair that damage as soon as reasonably
possible unless Landiord reasonably determines that: (i) the Premises have been materially damaged
and there is less than 1 year of the Term remaining on the date of the casualty; (i) any Mortgages
(defined in Section 13.1) requires that the insurance proceeds be applied to the payment of the m
debt; or (ill) proceeds necessary to pay the full cost of the repalr are not avaliable from Landlord's
insurance, including without limitation earthquake insurance. Should Landlord elect not to repair the
damage for one of the preceding reasons, Landlord shall so notify Tenant in the “Casualty Notice” (as
defined below), and this Lease shall terminate ae of the date of delivery of that notice.

(b) As soon as reasonably practicable following the casualty event but not later than 60 days
thereafter, Landlord shall notify Tenant in writing ("Casualty Notice’) of Landlord's election, If applicable,
to terminate this Lease. if this Lease is not so terminated, the Casualty Notice shall set forth the
anticipated period for repairing the casualty damage. If the anticipated repair period exceeds 180 days

and if the damage Is 80 extensive as to reasonably prevent Tenant’s substantial use and enjoyment of the
Premises. then either party may elect to terminate this Lease by written notice to the other within 10 days

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following delivery of the Casualty Notice. If Tenant was entitled to but elected not fo exercise its right to
terminate the Lease and Landlord does not substantially compiete the repair and restoration of the
Premises within 2 months after expiration of the estimated period of time set forth in the Casualty Notice,
which period shall be extended to the extent of any Reconstruction Delays (defined below), than Tenant
may terminate this Lease by written notice to Landiord within 15 days after the expiration of such period,
as the same may be extended. For purposes of this Lease, the term “Reconstruction Delays" shalt
mean: (i) any delays caused by the Insurance adjustment process; (ll) any delays caused by Tenant; and
(ll) any delays caused by events of force majeure.

(c) in the event that neither Landlord nor Tenant terminates this Lease pursuant to
Section 11.1(b), Landlord shall repair all material damage to the Premises or the Building as soon as
reasonably possible and this Lease shall continue in effect for the remainder of the Term. Upon notice
from Landlord, Tenant shall assign or endorse over to Landlord (or to any party designated by Landlord)
all property insurance proceeds payable to Tenant under Tenant's insurance with respect to any Tenant
Installations; provided if the estimated cost to repair such Tenant Installations exceeds the amount of
insurance proceeds received by Landlord from Tenant's insurance carrier, the excess cos! of such repairs
shall be paid by Tenant to Landlord prior to Landlord’s commencement of repairs. Within 15 days of
demand, Tenant shall atso pay Landlord for any additional excess costs that are determined during the
performance of the repairs to such Tenant Installations.

(d) From and after the 6" business day following the casualty event, the rental to be paid
under this Lease shall be abated in the same proportion that the Floor Area of the Promises that Is
rendered unusable by the damage from time to time bears to the total Floor Area of the Premises.

(e) Notwithstanding the provisions of subsections (a), (b) and (c) of this Section 11.1, but
subject to Section 10.5, the cost of any repairs shall be borne by Tenant, and Tenant shall not be entitied
to rental abatement or termination rights, if the damage is due to the fault or neglect of Tenant or its
employees, subtenants, contractors, invitees or fapresentatives. In addition, the provisions of this
Section 11.1 shall not be deemed to require Landlord to repair any Tenant installations, fixtures and other
terns that Tenant Is obligated to insure pursuant to Exhibit D or under any other provision of this Lease.

11.2. LEASE GOVERNS. Tensnt agrees that the provisions of this Lease, including without
Hmitation Section 11.1, shall govern any damage or destruction and shall accordingly supersede any
contrary statute or rule of law.

ARTICLE 12. EMINENT DOMAIN

Ether party may terminate this Lease if any material part of the Premises ls taken or condemned for
any public or quasi-public use under Law, by eminent domain or private purchase in lleu thereof (a
“Taking"). Landlord shall also have the right to terminate this Lease if there is a Taking of any portion of
the Bullding or Project which would have a material adverse effect on Landlord's ability to profitably
operate the remainder of the Building. The termination shall be effective as of the effective date of any
order granting possession to, or vesting legal title in, the condemning authority. if this Lease is not
terminated, Basic Rent and Tenant's Share of Operating Expenses shall be appropriately adjusted to
account for any reduction in the square footage of the Building or Premises. Ad compensation awarded
for @ Taking shall be the property of Landlord and the right to receive compensation or proceeds in
connection with a Taking are expressly waived by Tenant; provided, however, Tenant may file a separate
claim for Tenant's personal property and Tenant's reasonable relocation expenses, provided the filing of
the claim does not diminish the amount of Landlord's award. If only a part of the Premises is subject to a
Taking and this Lease is not terminated Landlord, with reasonable diligence, will restore the remaining
portion of the Premises as nearly as practicable to the condition immediately prior to the Taking. Tenant
agrees that the provisions of this Lease shall govern any Taking and shall accordingly supersede any
contrary statute or rule of law.

ARTICLE 13. SUBORDINATION; ESTOPPEL CERTIFICATE

13.1. SUBORDINATION. Tenant accepts this Lease subject and subordinate to eny mortgaga(s),
deed(s) of trust, ground lease(s) or other llen(s) now or subsequently arising upon the Premises, the
Building or the Project, and to renewals, modifications, refinancings and extensions thereof (collectively
referred to as 8 "Mortgage’). The party having the benefit of a Mortgage shall be referred to as &
“Mortgages”. This clause shall be setf-operative, but upon request from a Mortgages, Tenant shall
execute a commercially reasonable subordination and attomment agreement in favor of the Mortgagee,
provided such agreement provides a non-disturbance covenant benefiting Tenant. Alternatively, a
Mortgagee shall have the right at any time to subordinate Its Mortgage to this Lease. Upon request,
Tenant, without charge, shall attom to any successor to Landlord's Interest In this Lease in the event of a
foreclosure of any mortgage. Tenant agrees that any purchaser at & foreclosure sale or lender taking title
under a deed in lieu of foreclosure shall not be responsible for any act or omission of a prior landlord,
shail not be subject to any offsets or defenses Tenant may have against a prior landlord, and shall not be
Hable for the return of ine Security Deposit not actually recovered by such purchaser nor bound by any
rent paid in advance of the calendar month in which the transfer of litle occurred; provided that the
foregoing shall not release the applicable prior landiord from any liability for those obligations. Tenant
acknowledges that Landlord's Mortgagees and thelr successors-in-interest are intended third party
beneficiaries of this Section 13.1

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13.2. ESTOPPEL CERTIFICATE. Tenant shall, within 15 days after receipt of a written request
from Landlord, execute and deliver a commercially reasonable estoppel certificate in favor of those
parties as are reasonably requested by Landlord (including a Morigagee or a prospective purchaser of
the Building or the Project).

ARTICLE 14. DEFAULTS AND REMEDIES

14.1. TENANT'S DEFAULTS. In addition to any other event of default set forth In this Lease, the
occurrence of any one or more of the fallowing events shail constitute a "Default" by Tenant:

(a) ‘The failure by Tenant to make any payment of Rent required to be mads by Tenant, as and
when due, where the failure continues for a period of $ business days after written notice from Landlord to
Tenant. The term “Rent” as used in this Lease shall be deemed to mean the Basic Rent and all other
sums required to be paid by Tenant to Landlord pursuant to the tarms of this Lease.

(b) The assignment, sublease, encumbrance or other Transfer of the Lease by Tenant, either
voluntarily or by operation of law, whather by judgment, execution, transfer by intestacy or testacy, or
other means, without the prior written consent of Landlord unless otherwise authorized in Article 9 of this
Lease.

(c) The discovery by Landiord thet any financial statement provided by Tenant, or by any
affiliate, successor or guarantor of Tenant, was materially false.

({d) Except where a specific time period is otherwise set forth for Tenant's performance in this
Lease (in which event the failure to perform by Tenant within such time period shail be a Default), the
failure or inability by Tenant to observe or perform any of the covenants or provisions of this Lease to be
observed or performed by Tenant, other than as specified in any other subsection of this Sectlon 14.1,
where the fallure continues for a period of 30 days after written notice from Landlord to Tenant. However,
if the nature of the failure Is such that more than 30 days are reasonably required for its cure, hen Tenant
shall not be deemed to be in Default if Tenant commences the cure within 30 days, and thereafter
diligently pursues the cure to completion.

The notice periods provided herein are in lieu of, and not in addition to, any notice periods
provided by law, and Landlord shall not be required to give any additional notice under Califomia Code of
Civil Procedure Section 1161, of any successor statute, in order to be entitled to commence an unlawful
detainer proceeding.

44.2, LANDLORD'S REMEDIES.

(a) Upon the occurrence of any Default by Tenant, then in addition to any other remedies
available to Landlord, Landlord may exercise the following remedies:

(i) Landlord may terminate Tenant's right to possession of the Premises by any lawful
means, in which case this Lease shall terminate and Tenant shall immediately surrender possession of
the Pramises to Landlord. Such termination shall not affect any accrued obligations of Tenant under this
Lease. Upon termination, Landiord shall have the right to reenter the Premises and remove all persons
and property. Landlord shall also be entitled to recover from Tenant:

(1) The worth at the time of award of the unpaid Rent which had been earned al the
time of termination;

(2) The worth at the time of award of the amount by which the unpaid Rent which
would have been earned after termination until the time of award exceeds the amount of such loss that
Tenant proves could have been reasonably avoided;

(3) The worth at the time of award of the amount by which the unpaid Rent for the
balance of the Term after the time of award exceeds the amount of such loss that Tenant proves could be
reasonably avoided;

(4) Any other amount necessary to compensate Landtord for all the detriment
proximately caused by Tenant's failure to perform Its obligations under this Lease or which In the ordinary
course of things would be likely to result from Tenant's default, including, but not limited to, the cost of
recovering possession of the Premises, commissions and other expenses of reletting, including
necessary repalr, renovation, Improvement and alteration of the Premises for a new tenant, reasonable
attorneys’ fees, and any other reasonable costs; end

(5) At Landlord's election, all other amounts in addition to or in leu of the foregoing
as may be permitted by law. Any sum, other than Basic Rent, shall be computed on the basis of the
average monthly amount accruing during the 24 month period Immediately prior to Default, except that If it
becomes necessary to compute such rental before the 24 month period has occurred, then the
computation shall be on the basis of the average monthly amount during the shorter period. As used in
subparagraphs (1) and (2) above, the "worth at the time of award" shall be computed by allowing interest
at the rate of 10% per annum. As used in subparagraph (3) above, the “worth at the time of award” shail
be computed by discounting the amount at the discount rate of the Federal Reserve Bank of San
Francisco at the time of award plus 1%.

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(lil) Landlord may elect not to terminate Tenant's right to possession of the Premises, in
which event Landlord may continue to enforce all of its rights and remedies under this Lease, including
the right to collect all rent as it becomes due. Efforts by the Landlord to maintain, preserve or relet the
Premises, or the appointment of a receiver to protect the Landlord's Interests under this Lease, shall not
constitute a termination of the Tenant's right to possession of the Premises. In the event that Landlord
elects to avail itself of the remedy provided by thie subsection (il), Landlord shall not unreasonably
withhold its consent to an assignment or subietting of the Premises subject to the reasonable standards
for Landlord's consent as are contained In this Lease.

(b) The various rights and remedies reserved to Landlord in this Lease or otherwise shail be
cumulative and, except as otherwise provided by Califomia law, Landlord may pursue any or all of its
rights and remedies at the same time, No delay or omission of Landiord to exercise any right or remedy
shall be construed as a waiver of the right or remedy or of any breach or Defaul by Tenant. The
acceptance by Landlord of rent shall not be a (i) waiver of any preceding breach or Default by Tenant of
any provision of this Lease, other than the failure of Tenant to pay the particular rent accepted, regardiess
of Landlord's knowledge of the preceding breach or Default at the time of acceptance of rent, or (ii) a
waiver of Landlord's right to exercise any remedy available to Landlord by virtue of the breach or Default.
The acceptance of any payment from a debtor in possession, @ trustee, a receiver or any other person
acting on behalf of Tenant or Tenant's estate shall not waive or cure @ Default under Section 14.1. No
payment by Tenant or recelpt by Landiord of a lesser amount than the rent required by this Lease shall be
deemed to be other than a partial payment on account of the earllest due stipulated rent, nor shall any
endorsement or statement on any check or letter be deemed an accord and satisfaction and Landiord
shall accept the check or payment without prejudice to Landlord's right to recover the balance of the rent
or pursue any other remedy avaliable to it. Tenant hereby waives any right of redemption or relief from
forfelture under California Code of Civil Procedure Section 1174 or 1179, or under any successor statute,
in the event this Lease is terminated by reason of any Default by Tenant. No act or thing done by
Landlord or Landlord's agents during the Term shall be deemed an acceptance of a surrender of the
Premises, and no agreement to accept a surrender shall be valid unless in writing and signed by
Landlord. No employee of Landlord or of Landlord's agents shall have any power to accept the keys to
the Premises prior to the termination of this Lease, and the delivery of the keys to any employee shall not
operate as a termination of the Lease or a surrender of the Premises.

14.3. LATE PAYMENTS. Any Rent due under this Lease that is not paid to Landiord within &
business days of the date when due shall bear interest at the maximum rate permitted by law from the
date due until fully paid. The payment of interest shall not cure any Default by Tenant under this Lease.
In addition, Tenant acknowledges that the late payment by Tenant to Landlord of rent will cause Landiord
to INcur Costs not contemplated by this Lease, the exact smount of which will be extremely difficult and
impracticable to ascertain. Those costs may include, but are not limited to, administrative, processing
and accounting charges, and late charges which may be imposed on Landlord by the terms of any ground
lease, mortgage or trust deed covering the Premises. Accordingly, if any rent due from Tenant shall not
be received by Landlord or Landlord's designee within 5 business days after the date due, then Tenant
shall pay to Landlord, in addition to the interest provided above, a late charge for each delinquent
payment equal to the greater of (i) 5% of that delinquent payment or (fi) $100.00. Acceptance of a late
charge by Landlord shall not constitute a waiver of Tenant's Default with respect to the overdue amount,
nor shail it prevent Landlord from exercising any of ts other rights and remedies.

14.4, RIGHT OF LANDLORD TO PERFORM. !f Tenant is in Default of any of its obligations under
the Lease, Landlord shal have the right to perform such obligations. Tenant shall reimburse Landlord for
the cost of such performance upon demand together with an administrative charge equal to 10% of the
cost of the work performed by Landlord.

14.5. DEFAULT BY LANDLORD. Landlord shall not be deemed to be in the
performance of any obligation under this Lease unless and until it has failed to perform the obligation
within 30 days afer written notice by Tenant to Lendiord specifying in reasonable detail the nature and
extent of the failure; provided, however, that if the nature of Landlord's obligation is such that more than
30 days are required for its performance, then Landlord shall not be deemed to be in defauit if tt
commences performance within the 30 day period and thereafter diligently pursues the cure to
completion. Tenant hereby waives any right to terminate or rescind this Lease as & result of any default:
by Landiord hereunder or any breach by Landlord of any promise or inducement relating hereto, and
Tenant agrees that its remedies shall be limited to a sult for actual damages and/or injunction and shail in
no event include any consequential damages, lost profits or opportunity costs.

14.6. EXPENSES AND LEGAL FEES. Should either Landlord or Tenant bring any action in
connection with this Lease, the prevailing party shall be entitled to recover as a part of the action its
reasonable attomeys' fees, end all other reasonable costs. The prevaiiing party for the purpose of this
paragraph shall be determined by the trier of the facts.

44.7. WAIVER OF JURY TRIAL/JUDICIAL REFERENCE.

(a) LANDLORD AND TENANT EACH ACKNOWLEDGES THAT IT IS AWARE OF AND
HAS HAD THE ADVICE OF COUNSEL OF ITS CHOICE WITH RESPECT TO ITS RIGHT TO TRIAL BY
JURY, AND EACH PARTY DOES HEREBY EXPRESSLY AND KNOWINGLY WAIVE AND RELEASE
ALL SUCH RIGHTS TO TRIAL BY JURY IN ANY ACTION, PROCEEDING OR COUNTERCLAIM
BROUGHT BY EITHER PARTY HERETO AGAINST THE OTHER (AND/OR AGAINST ITS OFFICERS,

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DIRECTORS, EMPLOYEES, AGENTS, OR SUBSIDIARY OR AFFILIATED ENTITIES) ON ANY
MATTERS WHATSOEVER ARISING OUT OF OR IN ANY WAY CONNECTED WITH THIS LEASE,
DAMAGES USE OR OCCUPANCY OF THE PREMISES, AND/OR ANY CLAIM OF INJURY OR

(b) In the event that the jury waiver provisions of Section 14.7(a) are not enforceable under
California law, then, unless otherwise agreed to by the parties, the provisions of this Section 14.7(b) shall
apply. Landlord and Tenant agree that any disputes arising In conmection with this Lease (including but
not limited to a determination of any and all of the issues in such dispute, whether of fact or of law) shall
be rescived (and a decision shall be rendered) by way of a general reference as provided for in Part 2,
Title 8, Chapter 6 (§§ 638 et. seq.) of the California Code of Civil Procedure, or any successor California
statute governing resolution of disputes by a court appointed referee. Nothing within this Section 14.7
shall apply to an unlawful detainer action.

14.8 SATISFACTION OF JUDGMENT. The obligations of Landlord do not constitute the personal
obligations of the individual partners, trustees, directors, officers, members or shareholders of Landlord or
its constituent pariners or members. Should Tenant recover a money judgment against Landiord, such
judgment shall be satisfied only from the interest of Landlord in the Project and out of the rent or other
income from such property receivable by Landlord, and no action for any deficlency may be sought or
obtained by Tenant. ,

ARTICLE 16. END OF TERM

18.1. HOLDING OVER, /f Tenant holds over for any period after the Expiration Date (or earlier
termination of the Term) without the prior written consent of Landlord, such tenancy shall constitute a
tenancy at sufferance only and a Default by Tenant; such holding over with the prior written cansent of
Landlord shall constitute a month-to-month tenancy commencing on the 1" day following the termination
of this Lease and terminating 30 days following delivery of written notice of termination by either Landlord
or Tenant to the other. In either of such events, possession shall be subject to all of the terms of this
Lease, except that the monthly rental shall be 150 % of the total monthly rental for the month immediately
preceding the date of termination, subject to Landlord's right to modify same upon 30 days notice to
Tenant. The acceptance by Landiord of monthly hold-over rental in a tesser amount shail not constitute a
waiver of Landlord's right to recover the full amount due unless otherwise agreed in writing by Landiord.
if Tenant falls to vacate the Premises within 16 days after Landlord notifies Tenant that Landiord has
entered into @ lease for the Premises or has received a bona fide offer to lease the Premises and that
Landlord wil be unable to deliver potsession or perform improvements due to Tenant's holdover, and if
Landiord is unable to deliver possession of the Pramises to @ new tenant or to perform improvements for
a new tenant as a result of Tenant's holdover, then Tenant shall be liable for all damages that Landiord
suffers from the holdover. Tenant shall also indemnify and hoki Landiord harmless from aii loss or fability,
including without limitation, any claims made by any succeeding tenant relating to such failure to
surrender. The foregoing provisions of this Section 15.1 are in addition to and do not affect Landlord's
right of re-entry or any other rights of Landiord under this Lease or at law.

16.2. SURRENDER OF PREMISES; REMOVAL OF PROPERTY. Upon the Expiration Date or
upon any eariier termination of this Lease, Tenant shall quit and surrander possession of the Premises to
Landlord in as good order, condition and repair as when received or as hereafter may be improved by
Landiord or Tenant, reasonable weer and tear and repairs which are Landlord's obligation excepted, and
shall remove or fund to Landlord the cost of removing all wallpapering, voice and/or data transmission
cabling installed by or for Tenant and Required Removables, together with all personal property and
debris, and shall perform all work required under Section 7.3 of this Lease. {f Tenant shall fall to comply
with the provisions of this Section 15.2, Landlord may effect the removal and/or make any repairs, and
the cost to Landlord shall be additional rent payable by Tenant upon demand.

ARTICLE 16, PAYMENTS AND NOTICES

Ail sums payable by Tenant to Landiord shall be paid, without deduction or offset, in lawful money of
the United States to Landlord at its address set forth in item 12 of the Basic Lease Provisions. or at any
other place as Landlord may designate In writing. Uniess this Lease expressly provides otherwise, as for
example in the payment of rent pursuant to Section 4.1, all payments shall be due and payable within 5
business days after written demand. All payments requiring proration shall be prorated on the basls of
the number of days in the pertinent calendar month or year, as appticable. Any notice, election, demand,
consent, approval or other communication to be given or other document to be delivered by either party to
the other may be delivered to the other party, at the address sat forth in Item 12 of the Basic Lease
Provisions, by personal service, or by any courler or “overnight” express mailing service. Elther party
may, by written notice to the other, served in the manner provided In this Articie, designate a different
address. The refusal to accept delivery of a notice, or the inability to deliver the notice (wheather due to a
change of address for which notice was not duly given or other good reason), shall be deemed delivery
and receipt of the notice as of the date of attempted delivery. if more than one person or entity is named
as Tenant under this Lease, service of any notice upon any one of them shall be deemed as service upon
all of them.

ARTICLE 17. RULES AND REGULATIONS

Tenant agrees to comply with the Rules and Regulations attached es Exhibit E, and any reasonable
and nondiscriminatory amendments, modifications and/or additions as may be adopted and published by

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written notice to tenants by Landlord for the safety, care, security, good order, or cleanliness of the
Premises, Bullding, Project and/or Common Areas. Landlord shall not be {lable to Tenant for any
violation of the Rules and Regulations or the breach of any covenant or condition in any lease or any
cther act or conduct by any other tenant, and the same shall not constitute a constructive eviction
hereunder, One or more waivers by Landlord of any breach of the Rules and Regulations by Tenant or
by any other tenant(s) shall not be a waiver of any subsequent breach of that rule or any other. Tenant's
failure to keep and observe the Rules and Regulations shail constitute a default under this Lease. In the
case of any conflict between the Rules and Regulations and this Lease, this Lease shall be controlling.

ARTICLE 18. BROKER'S COMMISSION

The parties recognize as the broker(s) who negotiated this Lease the firm(s) whose name(s) is (are)
stated in item 10 of the Basic Lease Provisions, and agree that Landlord shall be responsible for the
payment of brokerage commissions to those broker(s) unless otherwise provided in this Lease. It Is
understood that Landlord's Broker represents only Landiord in this transaction and Tenant's Broker {if
any) represents only Tenant. Each party warrants that it has had no dealings with any other real estate
broker or agent in connection with the negotiation of this Lease, and agrees to indemnify and hold the
other party harmiess from any cost, expense or liability (Including reasonable attorneys’ fees) for any
compensation, commissions or charges claimed by any other real estate broker or agent employed or
claiming to represent or to have been employed by the indemnifying party in connection with the
negotiation of this Lease, The foregoing agreement shall survive the termination of this Lease.

ARTICLE 19. TRANSFER OF LANDLORD'S INTEREST

In the event of any transfer of Landlord's interest in the Premises, the transferor shall be
automatically relieved of all obligations on the part of Landlord accruing under this Lease from and after
the date of the transfer, provided that Tenant Is duly notified of the transfer. Any funds held by the
transferor in which Tenant has an interest, including without {imitation, the Security Deposit, shall be
tumed over, subject to that interest, to the transferees. No Mortgages to which this Lease is or may be
subordinate shall be responsible in connection with the Security Deposit uniess the Morigagee actually
receives the Security Deposit. It is intended that the covenants and obligations contained in this Lease
on the part of Landlord shall, subject to the foregoing. be binding on Landiord, its successors and
assigns, only during and In respect to their respective successive periods of ownership.

ARTICLE 20. INTERPRETATION

20.1. NUMBER. Whenever the context of this Lease requires, the words “Landlord” and “Tenant”
shall include the plural as well as the singular.

20,2. HEADINGS. The captions and headings of the articles and sections of this Lease are for
convenience only, ate not a part of this Lease and shall have no effect upon its construction or
interpretation.

20.3. JOINT AND SEVERAL LIABILITY. If more than one person or entity is named as Tenant,
the obligations imposed upon each shall be joint and several and the act of or notice from, or notice or
refund to, or the signature of, any one or more of them shall be binding on all of them with respect to the
tenancy of this Lease, including, but not limited to, any ranewal, extension, termination or modification of
this Lease.

20.4, SUCCESSORS. Subject to Sections 13.1 and 22.3 and to Articles 9 and 19 of this Lease, all
rights and liabilities given to or Imposed upon Landlord and Tenant shall extend to and bind their
respective heirs, executors, administrators, successors and assigns. Nothing contained in this
Sectlon 20.4 Is Intended, or shall be construed, to grant to any person other than Landlord and Tenant
and thelr successors and assigns any rights or remedies under this Lease.

20.6. TIME OF ESSENCE. Time is of the essence with respect to the performance of every
provision of this Lease In which time of performance Is a factor.

20.8. CONTROLLING LAW/VENUE. This Lease shall be governed by and interpreted in
accordance with the laws of the State of California. Should any litigation be commenced between the
parties In connection with this Lease, such action shall be prosecuted in the applicable State Court of
California in the county in which the Bullding Is located.

20.7. SEVERABILITY. ff any term or provision of this Lease, the deletion of which would not
adversely affect the receipt of any material benefit by either party or the deletion of which is consented to
by the party adversely affected, shall be held invalid or unenforceable to any extent, the remainder of this
Lease shall not be affected and each term and provision of this Lease shal! be valid and enforceable to
the fullest extent permitted by law.

20.8. WAIVER. One or more waivers by Landiord or Tenant of any breach of any term, covenant or
condition contained in this Lease shall not be a waiver of any subsequent breach of the same or any
other term, covenant or condition, Consent to any act by one of the parties shall not be deemed to render
unnecessary the obtalning of that party's consent to any subsequent act. No breach of this Lease shall
be deemed to have been walved unless the waiver Is In a writing signed by the walving party.

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20.9. INABILITY TO PERFORM. In the event that either party shall be delayed or hindered In or
prevented from the performance of any work or in performing any act required under this Lease by reason
of any cause beyond the reasonable control of that party, then the performance of the work or the doing
of the act shall be excused for the period of the delay and the time for performance shall be extended for
a period equivalent to the period of the delay. The provisions of this Section 20.9 shall not operate to
excuse Tenant from the prompt payment of Rent.

20.10. ENTIRE AGREEMENT. This Lease and its exhibits and other attachments cover in full each
and every agreement of every kind between the parties concerning the Premises, the Building, and the
Project, and all preliminary negotiations, oral agreements, understandings and/or practices, except those
contained in this Lease, are superseded and of no further effect. Tenant waives its rights to rely on any
representations or promises made by Landlord or others which are not contained in this Lease. No verbal
agreement or implied covenant shall be held to modify the provisions of this Lease, any statute. law, or
custom to the contrary notwithstanding.

20.14, QUIET ENJOYMENT. Upon the observance and performance of all the covenants, terms
and conditions on Tenant's part to be observed and performed, and subject to the other provisions of this
Lease, Tenant shall have the right of quiet enjoyment and use of the Premises for the Term without
hindrance or Interruption by Landiord or any other person claiming by or through Landlord.

20.12. SURVIVAL. All covenants of Landlord or Tenant which reasonably would be intended to
survive the explratian or sooner termination of this Lease, Including without limitation any warranty or
Indemnity hereunder, shall so survive and continue to be binding upon and inure to the benefit of the
respective parties and their successors and assigns.

ARTICLE 21. EXECUTION AND RECORDING

24.4. COUNTERPARTS; DIGITAL SIGNATURES. This Lease may be executed in one or more
counterparts, each of which shall constitute an original and ail of which shall be one and the same
agreement. The parties agree to accept a digital image {including but not limited to an image In the form
of a PDF, JPEG, GIF file, or other a-signature) of this Lease, if applicable, reflecting the execution of one
of both of the parties, as a true and correct original.

21.2. CORPORATE AND PARTNERSHIP AUTHORITY. /f Tenant is a corporation, imited liability
company or partnership, each individual executing this Lease on behalf of the entity represents and
warrants that such Individual is duly authorized to execute and deliver this Lease and that this Lease is
binding upon the corporation, limited lability company or partnership in accordance with its terms. Tenant
shall, at Landiord’s request, deliver a certified copy of its organizational documents or an appropriate
certificate authorizing or evidencing the execution of this Lease.

21.3. EXECUTION OF LEASE; NO OPTION OR OFFER. The submission of this Lease to Tenant
shail be for examination purposes only, and shall not constitute en offer to or option for Tenant to lease
the Premises. Execution of this Lease by Tenant and its return to Landlord shall not be binding upon
Landlord, notwithstanding any time Interval, until Landiord has in fact executed and delivered this Lease
to Tenant, it being intended that this Lease shall only become effective upon execution by Landlord and
detivery of a fully executed counterpart to Tenant.

21.4. RECORDING. Tenant shall not record this Lease without the prior written consent of
Landlord. Tenant, upon the request of Landiord, shall execute and acknowledge a “short form”
memorandum of this Lease for recording purposes.

21.5. AMENOMENTS. No amendment or mutual termination of this Lease shall be effective unless
in writing signed by authorized signatories of Tenant and Landlord, of by their respective successors in
interest. No actions, policies, oral or informal arrangements, business dealings or other course of
conduct by or between the parties shall be deemed to modify this Lease in any respect.

21.6. BROKER DISCLOSURE. By the execution of this Lease, each of Landlord and Tenant
hereby acknowledge and confirm (a) receipt of a copy of a Disclosure Regarding Real Estate Agency
Relationship conforming to the requirements of California Civil Code 2079.16, and (b) the agency
relationships specified in Item 10 of the Basic Lease Provisions, which acknowledgement and
confirmation is expressly made for the benefit of Tenant’s Broker identified in Itam 10 of the Basic Lease
Provisions. If there is no Tenant's Broker so identified in Item 10 of the Basic Lease Provisions, then
such acknowledgement and confirmation Is expressly made for the benefit of Landlord's Broker. By the
execution of this Lease, Landlord and Tenant are executing the confirmation of the agency relationships
set forth in Item 10 of the Basic Lease Provisions.

ARTICLE 22, MISCELLANEOUS

22.1, NONDISCLOSURE OF LEASE TERMS. Tenant acknowledges that the content of this Lease
and any related documents are confidential information. Except to the extent disclosure is required by
law, Tenant shall keep such confidential information strictly confidential and shall not disclose such
confidential information to any person or entity other than Tenant's financial, legal and space-planning
consultants, provided, however, that Tenant may disclose the terms to prospective subtenants or
assignees under this Lease or pursuant to legal requirement.

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22.2. TENANT'S FINANCIAL STATEMENTS. The application, financial statements and tax
returns, if any, submitted and certified to by Tenant as an accurate representation of its financial condition
have been prepared, cartified and submitted to Landiord as an inducement and consideration to Landlord
to enter into this Lease. Tenant shall during the Term fumish Landlord with current annual financial
statements accurately reflecting Tenant's financial condition upon written request from Landlord within 10
days following Landlord’s request; provided, however, that so long as Tenant is a publicly traded
corporation on a nationally recognized stock exchange, the foregoing obligation to deliver the statements
shall be waived.

22.3. MORTGAGEE PROTECTION. No act or fallure to act on the part of Landlord which would
otherwise entitle Tenant to be relleved of its obligations hereunder or to terminate this Lease shall result
in such a release or termination unless (a) Tenant has given notice by registered or certified mail to any
Mortgagee of a Mortgage covering the Bulkding whose address has been furnished to Tenant and
(b) such Mortgages Is afforded a reasonable opportunity to cure the default by Landiord (which shall in no
event be jess than 60 days), including, if necessary to effect the cure, time to obtain possession of the
Building by power of sale or judicial foreclosure provided that such foreciosure remedy is diligently
pursued. Tenant shall comply with any written directions by any Mortgagee to pay Rent due hereunder
directly to such Mortgagee without determining whether a default exists under such Mortgagee's
Mortgage.

22.4, SDN LIST. Landlord and Tenant hereby represent and warrant that neither it nor any officer,
director, partner, member or other principal is listed as a Specially Designated National and Blocked
Person ("SDN") on the list of such persons and entities issued by the U.S. Treasury Office of Foreign
Assets Control (OFAC). In the event Tenant or any Tenant Party is or becomes listed as an SDN, Tenant
shail be deemed in breach of this Lease and Landlord shall have the right to terminate this Lease
immediately upon written notice to Tenant.

LANDLORD: TENANT:
DISCOVERY BUSINESS CENTER LLC, PRIME CONSULTING LLC,
& Delaware limited liability company a Wyoming {imited lability company
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Steven M. Case Printed Name Calvin Ho
Executive Vice President Tille Operations Director
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Holly McManus _ Printed Name
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GUARANTEE OF LEASE

ARTICLE 1. PARTIES

The undersigned (hereinafter collectively “Guarantor’), whose address Is hereinafter set forth, as a
material inducement to and in consideration of DISCOVERY BUSINESS CENTER LLC, a Delaware limited
liability company (hereinafter "Landlord”) entering into a written lease (hereinafter, the “Lease") with PRIME
CONSULTING LLC, a Wyoming limited ability company (hereinafter “Tenant’), of approximately even date
herewith, for lease of that certain space located at 15261 Laguna Canyon Road, Sulte 200, Irvine, California, and
more particularly described In the Lease, pursuant to the provisions of this Guarantee of Lease (the "Guarantes")
unconditionally guarantees and promises to and for the benefit of Landlord full payment and performance of each
and au or the terms, covenants and conditions of the Lease by Tenant, all as more specifically set forth

relnafter. ,

ARTICLE 2. GUARANTOR'S DUTIES

Section 2.1, Guarantee of Tenant's Performance

Guarantor hereby unconditionally guarantees to Landlord the full and complete performance of each and
all of the terms, covenants and conditions of the Lease as required to be performed by Tenant, Including, but not
limited to, the payment of all rental, property texes, operating expenses, and any and all other charges or sums,
or any portion thereof, to accrue or become due from Tenant to Landlord pursuant to the terms of the Lease.

Section 2.2. Tenant's Failure to Perform

2.2.1. Payment of Rental and Other Sums. in the event that Tenant shail fall to pay any rental,
property taxes, operating expenses, or any other sums or charges, oF any portion thereof, accrued or due
pursuant to the terms of sald Lease, including without limitation any obligations Incurred by Tenant as a result of a
hold-over beyond the term of the Leass, then upan written notice to Guarantor by Landlord as herein provided,
Guarantor shall within 5 business days pay to Landlord or Landiord’s designated agent any and all such amounts
as may be due and owing from Tenant to Landlord by reason of Tenant's failure to perform.

2:2.2. Qther Provisions. In the event that Tenant shall fail to perform any covenants, terms or
conditions of the Lease as required to be performed, other than as provided for in Section 2.2.1. above, then upon
written notice to Guarantor by Landiord, as provided herein, Guarantor shall commence and complete
performance of such conditions, covenants and terms within 5 business days after the date of Landlord's notice to
Guarantor of such failure by Tenant to so perform, and in the event such performance by Guerantor cannot be
completed within sald § business days, Guarantor shall commence performance within said time and shall
diligently pursue completion thereof within a reasonable time duly set forth hereinafter.

2.2.3. Interest and Additional Damsges. In addition to the payment of rental and other sums,
and the performance of any and all other provisions, conditions and terms of the Lease which may be required of
Guarantor by reason of Tenant's failure to perform. Guarantor agrees to pay fo Landlord any and all reasonable
and necessary incidental damages and expenses incurred by Landiord as a direct and proximate result of
Tenant's failure to perform. Guarantor further agrees to pay to Landlord interest on any and all sums due and
owing Landlord, by reason of Tenart's failure to pay same, ai the highest rate as allowed by law at the time of
payment thereof.

Section 2.3. Statements of Guarantor.

Guarantor shall deliver to Landlord, prior to the execution of this Guarantee and thereafter at any time upon
Landlord's request, Guarantor’s current tax returns and financial statements, certified true, accurate and complete
by the chief financial officer of Guarantor, including @ batance sheet and profit and loss statement for the most
recent prior year or, in the event Guarantor Is a publicly traded corporation on a nationally recognized stock
exchange, Tenant's current financial reports filed with the Securities and Exchange Commission (collectively, the
Statements"), which Statements shall accurately and completely reflect the financial condition of Guarantor.
Landlord agrees that it will keap the Statements confidential, except that Landiord shall have the right to deliver
the same to any proposed purchaser or encumbrancer of the premises described in the Lease.

ARTICLE 3. LANDLORD'S RIGHTS

Section 3.1, Enforcement

Notwithstanding the provisions of Section 2.2.1. above, Landlord reserves the right, in the event of any
failure of Tenant to pay rental, property taxes, operating expenses and other sums which may become due and
owing pursuant to the terms of the Lease, to proceed against Tenant or Guarantor, or both, and to enforce against
Guarantor or Tenant, or both, any and all rights that Landlord may have to said rental, property taxes, operating
expenses and other sums accrued pursuant to the terms of the Lease. without giving prior notice to Tenant or
Guarantor, and without making demands therefor on either of them. Guarantor understands and agrees that its
ability under this Guarantee shall be primary (and Joint and several with Tenant) and that, in any right of action
which may accrue to Landlord under the Lease or this Guarantee, Landlord at its option may proceed against
Guarantor without having taken any action or obtained any judgment against Tenant.

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Section 3.2, Guarantors Waivers

in addition to any other waiver herein and except as otherwise specifically provided in this Guarantee,
Guarantor hereby waives:

(a) any and all notices, presentments, notice of nonpayment or nonperformance;

(b) all defenses by reason of any disability of Tenant;

(c) any and all rights it may have now or in the future, whether pursuant to Section 2845 of the
California Civil Code or otherwise, to require or demand that Landlord pursue any right or remedy Landiord may
have against Tenant or any other third party;

(d) until such time as ali obfigations of Tenant under the Lease have been satisfied In full, any

and al! rights It may have for subrogation against, or reimbursement from, Tenant with respect to any sume paid
hereunder; and

(8) any and all right to the benefit of, or to participate in, any security held by Landlord now or in
the future, or to require that such security be applied by Landlord either (i) prior to any action against Guarantor
hereunder or (il) as a credit or offset against sums owing hereunder.

ARTICLE 4, ALTERATION, MODIFICATION, OR ASSIGNMENT

 

Guarantor understands and agrees that notwithstanding the provisions of Section 2819 of the California
Civil Code, the obligations of Guarantor under this Guarantee shall in no way be affected by any extension,
modification or alteration of the Lease, including, but not limited to, Tenant entering into any sublease thereunder,
or Tenant's obligations under the Lease and each of its provisions, and any such extension, modification or
alleration of the Lease, including Tenant entering into any sublease thereunder, shall in no way release or
discharge Guarantor from any obligations accruing under this Guarantee. The term “Lease” shall Include all
amendments, modifications, alterations and extensions of the Lease.

Section 4.2, Assianment

Guarantor understands and agrees that any assignment of the Lease, or any rights or obligations
accruing thereunder, shall in no way affect Guarantors obligations under this Guarantee.

 

Guarantor understands and agrees that any failure or delay of Landlord to enforce any of its rights under
the Lease or this Guarantee shall in no way affect Guarantor's obligations under this Guarantee, nor shall any
settiement or release with Tenant or any third party release or discharge Guarantor from its obligations
hereunder. :

ARTICLE 5. TENANT'S INSOLVENCY

Section §.1, Liability upon Tenant's Insolvency

Guarantor understands and agrees that in the event Tenant shall become insolvent or be adjudicated
bankrupt, whether by voluntary or involuntary petition, or shall a petition for organization, arrangement, or similar
relief be filed against it, or # a receiver of any part of its property or assets Is appointed by any court, Guarantor
will remain obligated to pay to Landlord the amount of all unpaid rent, property taxes, operating expenses, and
any other sums accrued and thereafter accruing under the Lease.

Section 5.2, Effect of Operation of Law
Any operation of any present or future debtor's relief act or similar act or law, or decision of any court,

shall in no way abrogate or otherwise limit the obligation of Guarantor to perform any of the terms, covenants or
conditions of this Guarantee.

ARTICLE 6. MISCELLANEOUS

Section 6.1, Notices

Any and all notices required under this Guarantee shall be made in writing, and shall be personally
delivered, sent by reputable courier or overnight delivery service, or mailed, first-class mail, postage prepaid, to
the party who ig designated to receive such notice at the address set forth after their respective signatures on this
Guarantee, or at such other place as may be designated by said party upon written notice from time to time
hereafter.

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Section 6.2, Extent of Obligations

Notwithstanding anything to the contrary in this Guarantee, It is understood and agreed that this
Guarantee shait extend.to any and all obligations of Tenant under the Lease.

Section 6.3. Assignability

This agreement may be assigned in whole or In part by Landiord at any time to any successor to
Landlord's Interest in the leased premises and/or to any lender of Landiord.

Section 6.4. Successors and Assians

The terms and provisions of this Guarantee shall be binding upon and inure to the benefit of the
successors and assigns of the parties hareto.

Section 6.5, Modification of Guarantee
This Guarantee constitutes the full and complete agreement between the parties hereto, and it is

understood and agreed that the provisions hereof may only be modified by a writing executed by both parties
hereto.

Section 6.6. Number and Gender

As used herein the singular shall include the plural, and as used herein the masculine shall include the
feminine and neuter genders.

Section 6,7, Captions/Hesdings

Any captions or headings used in this Guarantee are for reference purposes only and are In no way to be
construed as part of this Guarantee.

Section 6.8. Invalidity

if any term. provision, covenant or condition of this Guarantee Is held to be void, Invalid, or
unenforceable, the remainder of the provisions shall remain in full force and effect and shall in no way be affected,
impaired, or invalidated.

Section 6.9, Jurisdiction

The validity of this agreement and of any of Its terms or provisions, as well as the rights and duties of the
parties hereunder, shall be interpreted and construed pursuant to and In accordance with the laws of the State of
California. Guarantor consents to the jurisdiction of any competent state or federal court in Callforla where
Landiord may elect to initiate an action to enforce its rights hereunder.

Section 6.10,_Jpint and Several

Should more than one party execute this instrument as Guarantor, then the obligations of each such party
shail de joint and several.

Section 6.11, Attomey’s Fees

In the event it becomes necessary to enforce any of the terms and provisions of this Guarantee, whether
or not suit be instituted, the prevailing party shall be entitied to its reasonable costs and expenses incurred with
respect thereto, including, but not limitad to, reasonable attorney's fees, and such other costs and expenses as
may be allowed by law.

Section 6.12. Guarentee of Payment and Performance

It is understood and agreed that this Guarantee !s unconditional and continuing, and a guarantee of
payment and performance and not of collection.

Section 6.13, WAIVER OF JURY TRIALIUDICIAL REFERENCE LANDLORD AND GUARANTOR
HEREBY ACKNOWLEDGE AND AGREE THAT THE PROVISIONS OF 14.7 OF THE LEASE SHALL BE
INCORPORATED BY REFERENCE INTO THIS GUARANTEE, AND THAT ALL REFERENCES TO “TENANT”
IN THAT SECTION SHALL BE DEEMED TO REFER TO GUARANTOR FOR PURPOSES HEREOF.

Section 6.14, COUNTERPARTS, DIGITAL SIGNATURES. This Guarantee may be executed in one or
more counterparts, if applicable, each of which shall constitute an original and all of which shall be one and the
same agreement. The parties agree to accept a digital image (including but not limited to an Image in the form of
a PDF, JPEG, GIF file, or other ¢-signature) of this Guarantee, if applicable, reflecting the execution of one or
both of the parties, as a true and correct original,

[SIGNATURES ON FOLLOWING PAGE]

Guarantee - IOPLEGAL- 10-29943 10/0/2018 - 250650 -02

00036
Evers Decl. - Attachment F Pl. Ex. 63

p. 1795
DocuSign Envelope 10: 88512886-77CF-43E6-BD9C-891DF 204085F

ARTICLE 7. EXECUTION

IN WITNESS WHEREOF, the undersigned have executed this Guarantee and made it effective as of

October 10, 2018
CONSUMER ADVOCACY CENTER INC.
@ California corporation

‘DecuLigned by:
Albert beim
tIDMTIOTAN
Printed Name Alber Kim

Title Owner

By
Printed Name
Title

 

 

 

Guarentee - IOPLEGAL-10-20043 102018 - 260880 - 0.2

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Evers Decl. - Attachment F Pl. Ex. 63
p. 1796
IRVINE COMPANY | OFFICE __
Since 1864 | PROPERTIES

ACCEPTANCE OF PREMISES

 

 

GOMMENCEMENT MEMORANDUM
Date: 10/11/2018 Floor: Second
Building ID: 662155000 Suite #: 200
Address: 15261 Laguna Canyon Road Lease ID:
Chy: Irvine

 

| have today inspected the lease premises referenced above, which is leased to:
Prime Consulting LLC

and hereby acknowledge and agree to the following:

(a) The date of tender of posession by Landiord of these premises is
October 12, 2018

(b) Rent will commence on 10/45/18
(c) The lease term will commence on 10/15/18
and expire on 40/31/20 _ and, if necessary, sald dates may be
inserted by the Tenant and Landlord on the Basic Lease Provisions
page of each copy of the lease.

 

SAID PREMISES ARE SATISFACTORY AND COMPLETE AND ARE HEREBY ACCEPTED
SUBJECT TO CORRECTION OF THE FOLLOWING ITEMS (IF ANY):

 

 

 

 

 

 

 

insurance Certificate Received: no

UK. [J —-

Tenant‘signature Landida roPresentative

{ \ Leta Ho _ Jimmy Kim
rint Name Print Name

A copy of the fully executed form must be sent to the Tenant, Accounting, Construction, and Leasing wilh the onginal
maintained in the Lease Mie.

 

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Evers Decl. - Attachment F Pl. Ex. 63
p. 1797
6007

par_ AOS La 8

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Item [D Item Type Check Account RTN Check No/ Item Status Item

 

 

 

Number Aux-On-Us Amount
101118783087904 Check a 7 08007 Deposd Complete $221,511.00
Building ID: 662155 Lense ID: 250036
End of Report

© Copynght 2005 - 2018 Wells Fargo Alinghis reserved

Page 2 of 2

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Evers Decl. - Attachment F Pl. Ex. 63

p. 1798
Exhibit
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NM N Bw PO WH PP PO RN Rm mmm mee ee
on DN Hh ff WO NYY &§&§ OO CO WA KH HH FS WY LH —

 

 

Declaration of Anneliese Simmons
Pursuant to 28 U.S.C. § 1746

I, Anneliese Simmons, hereby declare and state as follows:

l. I am competent to make this declaration and have personal knowledge
of the following facts.

2. I am the Stakeholder Services Manager in the Office of Consumer
Response (Consumer Response) at the Bureau of Consumer Financial Protection
(Bureau).

3. Under the Dodd-Frank Wall Street Reform and Consumer Protection
Act, the Bureau is required to “facilitate the centralized collection of, monitoring
of, and response to consumer complaints regarding consumer financial products or
services.” !

4, Consumers can submit complaints to the Bureau on the Bureau’s
website or by phone, email, mail, fax, or through a referral. After review,
complaints are forwarded via a secure web portal called the “Company Portal” to
the appropriate company for response. The Company Portal allows companies to
view and respond to complaints submitted to the Bureau, supports the efficient
routing of consumer complaints to companies, and enables a timely and secure
response by companies to the Bureau and consumers.

5. Companies register for access to the Company Portal through
completing the Boarding Form. The Boarding Form, available on the CFPB’s
website, provides details about the company’s structure, organization, affiliates and]

subsidiaries. During the boarding process, companies are instructed on how to

 

‘ Codified at 12 U.S.C. 5493(b)(3)(A). See also Dodd-Frank Act, Section 1034
(discussing responses to consumer complaints), codified at 12 U.S.C. 5534; Section
1021(c)(2) (noting that one of the Bureau’s primary functions is “collecting,
investigating, and responding to consumer complaints”), codified at 12 U.S.C.
5511(c)(2).

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Simmons Decl. Pl. Ex. 64
p. 1799

 
